February 29", 2024

To Whom It May Concern,

lam writing to provide a character reference for lan Lucas a fellow nursing school student
and a close friend of mine. Throughout our time together in nursing school, | have had the
privilege of getting to know lan on both a personal and professional level.

During new student admittance day, lan was the first person to speak to me. Through that
conversation he assisted a stranger who had just drove 11 and % hours from their home
state with finding the best prices and places to live. From that initial experience, lan
showed me compassion and kindness, which made more eager to be a student at
Vanderbilt.

Through the program, | have seen the remarkable dedication to patient care that lan
processes. He consistently demonstrates a strong work ethic, taking on challenges with
enthusiasm and a determination to succeed. Even though lan may not feel well due to his
chronic illness lan still shows up and positivity impacts the people around him. His passion
for helping others is evident in every interaction he has with patients, and fellow students.
He approaches each task with compassion, empathy, and a genuine desire to make a
positive difference in people's lives.

In addition to his academic achievements and personal achievements, lan exhibits
excellent leadership skills. He is always willing to collaborate, express concerns, and
educate fellow students on topics he knows. He communicates effectively and
respectfully, fostering an environment of trust and cooperation among peers.

Beyond his professional qualities, lan Lucas is an advocate. He demonstrates reliability,
and is incredibly supportive and empathetic, always ready to lend a listening ear or offer
words of encouragement to those in need. His efforts to provide equity within our program
has vast helped numerous of people including myself.

In summary, | urge you to consider the entirety of lan Lucas’s character and

contributions to Vanderbilts School of Nursing community. | sincerely hope that you will
take my words into consideration when evaluating his situation.

Please feel free to contact me via email if you require any further information.

Sincerely,

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